         Case 2:21-cv-05660-PBT Document 11 Filed 03/17/22 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  GREG MCMAHON, et al.,                            :
                                                   :
                                                   :          CIVIL ACTION
                        Plaintiffs,
                                                   :
                 v.
                                                   :          NO. 21-5660
                                                   :
  GENERAC POWER SYSTEMS, INC.,
                                                   :
                        Defendant.                 :
                                                   :


                                            ORDER

       AND NOW, this 17th day of March 2022, IT IS HEREBY ORDERED AND

DECREED that the Parties’ joint request for an extension is GRANTED.

       IT IS FURTHER ORDERED that Defendant Generac Power Systems, Inc.’s deadline

for responding to Plaintiffs’ Complaint shall be extended to Tuesday, June 21, 2022, and

Plaintiffs’ deadline for opposing that response shall be Thursday, July 21, 2022.




                                                    BY THE COURT:

                                                    /s/ Petrese B. Tucker
                                                    ___________________________
                                                    Hon. Petrese B. Tucker, U.S.D.J.
